                                                                                    Case 09-26065
                                                                     B6F (Official Form 6F) (12/07)
                                                                                                                   Doc 33           Filed 02/26/10 Entered 02/26/10 10:39:32                                                              Desc Main
                                                                                                                                      Document     Page 1 of 2
                                                                     IN RE Kutti, Trevian C.                                                                                                                         Case No.
                                                                                                                                 Debtor(s)                                                                                                                  (If known)

                                                                                  AMENDED SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                        State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the debtor
                                                                     or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and
                                                                     the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or
                                                                     guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not include claims
                                                                     listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”

                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

                                                                       Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of
                                                                     Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.

                                                                         Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.
                                                                                                                                                  HUSBAND, WIFE, JOINT,
                                                                                                                                                     OR COMMUNITY




                                                                                                                                                                                                                                                            UNLIQUIDATED
                                                                                                                                                                                                                                               CONTINGENT
                                                                                                                                       CODEBTOR




                                                                                                                                                                                                                                                                           DISPUTED
                                                                                   CREDITOR'S NAME, MAILING ADDRESS                                                                       DATE CLAIM WAS INCURRED AND                                                                     AMOUNT
                                                                               INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                                  CONSIDERATION FOR CLAIM. IF CLAIM IS                                                                OF
                                                                                          (See Instructions Above.)                                                                         SUBJECT TO SETOFF, SO STATE                                                                    CLAIM
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                                                                     ACCOUNT NO. 1927041502224277                                                                         Charge
                                                                     BA Merchant Services
                                                                     Attn: KY6-200-01-32
                                                                     1231 Durrent Lane
                                                                     Louisville, KY 40213
                                                                                                                                                                                                                                                                                            3,372.00
                                                                     ACCOUNT NO. 74923111829713                                                                           Credit Purchase
                                                                     Bank Of America
                                                                     P.O. Box 15726
                                                                     Wilmington, DE 19850

                                                                                                                                                                                                                                                                                            4,136.00
                                                                     ACCOUNT NO. 09 M1 91722370                                                                           Back Rent
                                                                     Bean Properties LLC
                                                                     C/O Pissetzky & Berliner
                                                                     53 West Jackson Blvd., #1403
                                                                     Chicago, IL 60604
                                                                                                                                                                                                                                                                                          283,000.00
                                                                     ACCOUNT NO. 20633527                                                                                 NSF Check
                                                                     ChexSystems
                                                                     Consumer Relations
                                                                     7805 Hudson Rd, Ste. 100
                                                                     Woodbury, MN 55125
                                                                                                                                                                                                                                                                                             379.00
                                                                                                                                                                                                                                              Subtotal
                                                                              continuation sheets attached                                                                                                                        (Total of this page)                                $ 290,887.00
                                                                                                                                                                                                                                                Total
                                                                                                                                                                                   (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                       the Summary of Schedules and, if applicable, on the Statistical
                                                                                                                                                                                                    Summary of Certain Liabilities and Related Data.)                                 $
                                                                                   Case 09-26065
                                                                     B6F (Official Form 6F) (12/07) - Cont.
                                                                                                                 Doc 33          Filed 02/26/10 Entered 02/26/10 10:39:32                                                                Desc Main
                                                                                                                                   Document     Page 2 of 2
                                                                     IN RE Kutti, Trevian C.                                                                                                                        Case No.
                                                                                                                              Debtor(s)                                                                                                                    (If known)

                                                                                 AMENDED SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                            (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                           UNLIQUIDATED
                                                                                                                                                                                                                                              CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                          DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                       DATE CLAIM WAS INCURRED AND                                                                     AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                                  CONSIDERATION FOR CLAIM. IF CLAIM IS                                                                OF
                                                                                         (See Instructions Above.)                                                                         SUBJECT TO SETOFF, SO STATE                                                                    CLAIM




                                                                     ACCOUNT NO. 15466160153612674                                                                      Credit Purchase
                                                                     Citi Cards
                                                                     Box 6000
                                                                     The Lakes, NV 89163

                                                                                                                                                                                                                                                                                          7,211.00
                                                                     ACCOUNT NO. 079235                                                                                 Charge
                                                                     Glassworks, Inc.
                                                                     1814 Pickwick Ave.
                                                                     Glenview, IL 60026
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                                                                                                                                                                                                                                                                                            495.00
                                                                     ACCOUNT NO. 4037-6600-0395-4781                                                                    Credit Purchase
                                                                     Midwest Bank & Trust
                                                                     Cardmember Service
                                                                     P.O. Box 790408
                                                                     St. Louis, MO 63179
                                                                                                                                                                                                                                                                                          4,219.00
                                                                     ACCOUNT NO. 7500053406855                                                                          Utility
                                                                     Peoples Energy
                                                                     Bankruptcy Department
                                                                     Chicago, IL 60687

                                                                                                                                                                                                                                                                                          1,037.00
                                                                     ACCOUNT NO. 13822234                                                                               Charge
                                                                     Protection One
                                                                     P.O. Box 5714
                                                                     Carol Stream, IL 60197

                                                                                                                                                                                                                                                                                            169.00
                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     Sheet no.       1 of        2 continuation sheets attached to                                                                                                           Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                                  (Total of this page)                                $   13,131.00
                                                                                                                                                                                                                                               Total
                                                                                                                                                                                  (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                      the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                   Summary of Certain Liabilities and Related Data.)                                 $ 304,018.00
